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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

JOYCE JOHNSON, Administrator
of the Estate of and on behalf of
Jodie Coats,

               Plaintiff,

                                                  Case No. 2:18-cv-596
                                                  Chief Judge Edmund A. Sargus, Jr.
       v.                                         Chief Magistrate Judge Elizabeth P. Deavers

RONETTE BURKES, et al.,

               Defendants.


                                             ORDER

       For good cause shown, Plaintiff’s Unopposed Motion to Extend Primary Expert Report

Deadlines (ECF No. 50) is GRANTED. The Preliminary Pretrial Order (ECF No. 39) is

MODIFIED as follows:

EXPERT TESTIMONY

Primary expert reports must be produced by JUNE 14, 2019. Rebuttal expert reports must be
produced by JULY 15, 2019. If the expert is specifically retained, the reports must conform to
Fed. R. Civ. P. 26(a)(2)(B), unless otherwise agreed to by the parties. If the expert is not
specifically retained, the reports must conform to Fed. R. Civ. P. 26(a)(2)(C), unless otherwise
agreed to by the parties. Pursuant to Fed. R. Civ. P. 26(b)(4)(A), leave of court is not required to
depose a testifying expert.

       All other deadlines in the Preliminary Pretrial Order (ECF No. 39) and Order (ECF No.

45) remain the same.

       IT IS SO ORDERED.

Date: March 14, 2019                              /s/ Elizabeth A. Preston Deavers
                                              ELIZABETH A. PRESTON DEAVERS
                                              CHIEF UNITED STATES MAGISTRATE JUDGE
